
Moncure, P., and Staples, J.,
concurred in the opinion of Burks, J.
Christian and Anderson, J’s, dissented. They thought that the liability should be put upon the Lightners; and therefore that the decree of the circuit court was correct.
The decree was as follows:
This day came again the parties by their counsel, and the.court having maturely considered the transcript of the record of the decree aforesaid and the arguments of counsel, is of opinion, for reasons stated in writing and filed with the record, that the said circuit court committed an error in said decree in ordering that the appellant, Matthew Pilson, pay out of the trust funds in his hands, *to the respective parties in-said decree named, the several sums of money, interest and costs therein mentioned, instead of ordering, as it should have done, that said Pilson pay said sums, interest and costs, to said parties, respectively, out of his own estate; and that said decree shall be without prejudice to any equity of said Pilson as trustee to indemnity, as hereinafter provided.
The court is further of opinion, that the said decree should be amended by this court, so as to correct the said error, and as amended should be affirmed.
It is, therefore, decreed and ordered, that the said decree be and the same is hereby so far amended as to order that the said Matthew Pilson do, out of his own estate, (instead of out of the trust funds in his hands, as the said decree now directs,) pay to the parties, respectively, in said decree named, the several sums of money, interest and costs, by the said decree ordered to be paid to them respectively, and that the said decree shall be without prejudice to any equity which the said Matthew Pilson may have, as against his cestuis que trust under the will of John S. Thompson, deceased, to indemnity for whatever sum or sums of money he shall pay under said decree as herein amended, and without- prejudice to any remedy to which he may be entitled to enforce said equity. And it is further decreed and ordered, that the said decree, as so amended, be affirmed, and that the appellant, Matthew Pilson, out of his own estate, do pay to the appellees, (except Samuel Bushong,) as the parties substantially prevailing in this court, their costs by them expended in the defence of the appeal aforesaid here; which is ordered to be certified to the said circuit court of Augusta county.
Decree reversed,
